 ATTORNEY DISCIPLINARY PROCEEDING PER CURIAM hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent was arrested for driving under the influence of alcohol. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition, IT IS ORDERED that the Petition for Consent Discipline be accepted and that Spencer Brimmer Bowman, Louisiana Bar Roll number 33515, be suspended from the practice of law for a period of one year and one day. This suspension shall be deferred in its entirety, subject to respondent’s successful completion of a five-year period of probation to coincide with his Judges and Lawyers Assistance Program recovery agreement. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline, as appropriate. IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid. , 